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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                           *
                                                    *
         v.                                         *    CRIMINAL NO. RDB-17-0069
                                                    *
 HAROLD T. MARTIN, III                              *
                                                    *
               Defendant.                           *
                                                    *
                                                 *******


     GOVERNMENT’S RESPONSE TO DEFENDANT’S NOTICE OF INTENT TO
    DISCLOSE CLASSIFIED INFORMATION PURSUANT TO SECTION 5 OF THE
              CLASSIFIED INFORMATION PROCEDURES ACT

        In a previous conference with the Court and counsel for the Defendant regarding the pretrial

schedule in this case, the Government requested time to object, on the basis of inadequate

specificity, to the Defendant’s Notice of Intent to Disclose Classified Information filed pursuant

to Section 5 of the Classified Information Procedures Act (CIPA), 18 U.S.C. App. III. The Court

granted that request and set February 15, 2019 as the deadline for any such objection by the

Government. Dkt. 111 para. 4(a).

        The Government has reviewed the Defendant’s Notice, which was filed on January 25,

2019. The Government is satisfied that the Defendant’s Notice is sufficiently specific to provide

the Government with adequate notice of specifically what classified information the Defendant

intends to disclose or cause to be disclosed at trial.

        The Government does not concede that the information listed in the Defendant’s Notice is

admissible, and will contest the admissibility of certain information pursuant to Section 6(a) of

CIPA. The Government will further propose means to protect classified information from public

disclosure at trial, including but not limited to redactions, substitutions, and use of the “Silent
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Witness Rule.” See, e.g., United States v. Mallory, No. 1:17-cr-154, doc. 170, at 1 (E.D. Va. June

5, 2018). The Government further will seek to work with counsel for the Defendant to determine

whether the parties can agree to stipulations that will protect classified information and streamline

the parties’ proof at trial.

        The specific means by which the Government will propose to protect classified information

at trial will depend upon the Court’s rulings on the admissibility of each item of classified

information the Defendant has noticed, as well as on the stipulations to which the Government and

counsel for the Defendant agree. Accordingly, the Government respectfully requests that the Court

conduct the hearing on admissibility of proposed classified evidence under Section 6(a) of CIPA

as scheduled, beginning on March 28, 2019, but that the Court provide additional time for the

Government, pursuant to Sections 6(c) and 8 of CIPA, to (a) work with counsel for the Defendant

to craft mutually acceptable stipulations and (b) propose specific means to protect from public

disclosure each item of classified information that will be admitted pursuant to Section 6(a). The

Government further respectfully requests two weeks from the date of this Court’s Order regarding

admissibility pursuant to CIPA Section 6(a) to both submit mutually acceptable stipulations and




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propose specific protective procedures. This modification to the Court’s Scheduling Order will

not affect the trial date, and will conserve resources of both parties and the Court.


                                              Respectfully submitted,

                                              Robert K. Hur
                                              United States Attorney

                                       By:           /s/
                                              Harvey E. Eisenberg
                                              Assistant United States Attorney
                                              Chief, National Security Section

                                                     /s/
                                              Zachary A. Myers
                                              Assistant United States Attorney

                                                     /s/
                                              David Aaron
                                              Trial Attorney
                                              National Security Division
                                              U.S. Department of Justice




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